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IN THE UNITED STATES DISTR]CT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Margaret Morgan

 

 

PlaintifF, (Judge Conaboy)

VS' z SCFFi|Al\ItET%
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Comenity Bank 1

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Defendant. HK
ORDER OF DISMISSAL

 

Counsel having reported to the Court that the above action has been settled,
IT IS ORDERED that this action is hereby dismissed without prejudice to the right, upon

good cause shown within (60) days, to reinstate the action if the settlement is not consummated

    

V/______
f Richard P. Conaboy
United States District Judg

DATE: October 18, 2017

